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19
                             UNITED STATES DISTRICT COURT
20                         NORTHERN DISTRICT OF CALIFORNIA
21
     CHASOM BROWN, WILLIAM BYATT,              Case No.: 4:20-cv-03664-YGR-SVK
22   JEREMY DAVIS, CHRISTOPHER
     CASTILLO, and MONIQUE TRUJILLO            PLAINTIFFS’ ADMINISTRATIVE
23   individually and on behalf of all other   MOTION TO CONSIDER WHETHER
     similarly situated,                       GOOGLE’S MATERIAL SHOULD BE
24
                                               SEALED
                         Plaintiffs,
25                                             CIVIL L.R. 79-5
        v.
26
     GOOGLE LLC,
27                       Defendant.

28
                                                             CASE NO. 4:20-CV-03664-YGR-SVK
                     PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER
                               GOOGLE’S MATERIAL SHOULD BE SEALED
              Case 4:20-cv-03664-YGR Document 815 Filed 01/04/23 Page 2 of 4



 1          Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether

 2   Google LLC’s (“Google”) material should be sealed.

 3
      Document Sought to be            Party Claiming         Portions to be     Basis for Sealing
 4
      Sealed                           Confidentiality        Filed Under Seal
 5    Plaintiffs’ Opposition to  Google                       Portions           Refers to Material
      Google’s December 21, 2022                              highlighted in     Designated “Highly
 6
      Administrative Motion                                   yellow             Confidential” and
 7                                                                               “Confidential” by
                                                                                 Google pursuant to the
 8                                                                               Protective Order

 9    Exhibit 1 to Mao Declaration     Google                 Entire document    Material Designated
                                                                                 “Highly Confidential”
10                                                                               by Google pursuant to
11                                                                               the Protective Order

12    Exhibit 2 to Mao Declaration     Google                 Entire document    Material Designated
                                                                                 “Highly Confidential”
13                                                                               by Google pursuant to
                                                                                 the Protective Order
14
      Exhibit 3 to Mao Declaration     Google                 Entire document    Material Designated
15
                                                                                 “Highly Confidential”
16                                                                               by Google pursuant to
                                                                                 the Protective Order
17

18
            Pursuant to Civil Local Rule 79-5(f), Google, as the designating party, bears the burden of
19
     establishing that the designated material is sealable.
20

21   Dated: January 4, 2023                        Respectfully Submitted,
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